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                                                                                                                                                            June 09, 2021
Address Service Requested

      T   o   d   d    E        Co      ope         r
      K   e   l   l   y S        C      oop         er
      8   4   1   2    Pl       um       Va         lley Dr
      S   e   l   l   ler       sb      urg         , IN 47172 0000
      *




                                                                                                         Loan No:
                                                                                                         Loan Type: CONV W/O PMI
                                                                                                         Noteholder: Prpm 2021-4, Llc

                                                                                                         Property Address:
                                                                                                         8412 Plum Valley Dri
                                                                                                         Sellersburg IN 47172

      Amber Kincaid
      Akincaid@rushmorelm.Com

                                                                                          PAYOFF STATEMENT

      *   *   *   *   **    *   *   *   *   *   *   *   ****    ****   *   ****   *   *   **    ****   ****   **   ****   *   **    *   *   *   *   *   **   *   *   *   *   **    *   *   *   *   **
      O   N   L   Y     C   E   R   T   I   F   I   E   D FU    NDS    W   ILL    B   E     A   CCEP   TED    FO   R TH   E     P   A   Y   O   F   F    S   H   O   W   N     B   E   L   O   W   .
      *   *   *   *   **    *   *   *   *   *   *   *   ****    ****   *   ****   *   *   **    ****   ****   **   ****   *   **    *   *   *   *   *   **   *   *   *   *   **    *   *   *   *   **
      T   h   e   s   e     f   i   g   u   r   e   s     are    goo   d    to    J   u   ne     09,    202   1.    (th   e     "   G   o   o   d   -   Th   r   o   u   g   h     D   a   t   e   ")
      T   h   i   s     l   o   a   n       i   s       due     for    t   he J   u   n   e     01,    2021    p   ayme   n   t.
      T   h   e       cu    r   r   e n  t  t           otal     unp   a   id P   r   i   nc    ipal    Bal   an   ce i   s   :                                  $                         64,417.       8   2
      U   n   p   a   id        I   n t re  e           st D    ue a   t    Pay   o   f   f                                                                      $                            389.       8   5
      S   u   s   p   en    s   e     B la  a           nce                                                                                                      $                           -757.       1   8
      R   e   c   o   ve    r   a   bl   C  e           orpo    rate Advances                                                                                    $                             26.       0   0
      P   r   o   p     I   n   s   p    P  &           rese    rv                                                                                               $                             16.       5   0
      R   e   c   o   n/    R   e   co di   r           ng F    ee                                                                                               $                             43.       0   0
      D   e   f   e   rr    e   d     I te  n           rest                                                                                                     $                               .       0   0
      S   h   o   r   t     I   n   te es   r           t                                                                                                        $                               .       0   0
          *       *     *       *     T TA  O           L AM    OUNT TO PAY LOAN IN FULL * * * * * $                                                                                       64,135.       9   9

      2nd Principal Balance                                                                                                                             $                                               .00
      Deferred Interest Balance                                                                                                                         $                                               .00

      The total unpaid Principal Balance includes the 2nd Principal Balance,
      Deferred Interest Balance, Principal Reduction Amount (HAMP incentive)
      and/or a Forbearance Amount.
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                                                                                                             L   o   a   n    N   o   :
                                                                                                             P   r   o   p   er   t   y Address:
Address Service Requested
                                                                                                             8   4   1   2    P   l   um Valley Dri
                                                                                                             S   e   l   l   er   s   burg IN 47172



      If the loan is less than 30 days past due the Principal Reduction Amount
      is deducted from the total amount due.

      Funds received on or after June 09, 2021 will require an additional
      $ 10.15 interest per Day.

      Payoff funds being sent by mail must be directed to:

                                 Rushmore             Loa      n M       a   n   ageme       nt Services LLC
                                        A            ttn:       Pa       y   o   ff De       partment
                                        1            5480       La       g   u   na Ca       nyon Road Suite 100
                                        I            rvin      e,        C   A    9261       8

      These figures are subject to final verification by the Noteholder.
      Figures may be adjusted if any check/money order previously received is
      rejected by the institution upon which it was drawn.

      T   h   e    e   s   cr    o   w    ba   l   ance    i   s s       u   b   je    ct to     a   u   d   i   t a         nd       ma   y ch   a   nge due to receipts
      a   n   d   /o   r     d   i   s   bur   s   emen   ts    fr       o   m     t   he acc    o   u   n   t    pr         ior       t   o pa   y   ment in full.
      T   h   e    c   u   rr    e   n   t e   s   crow    b   ala       n   c   e     of $ 1    ,   4   7   7   .05          wi      ll    be    r   efunded upon
      r   e   c   ei   p   t     o   f    th   e    rel   ea   se        f   r   om     the c    u   r   r   e   nt          Not      eh   olde   r   .

      A   n   y       amou       n   ts i      ncl   ude   d     i   n       the E       s t   imat      e   d F         e e   s a     nd C   ost      s    sec   t   io    n       o   f thi   s
      l   e   t   t   er a       n   tici      pat   e c   e   rt    a   i   n act       i o   ns w      e    mu         s t    ta     ke b   efo      r   e th   e     G   o   o   d   -Thro   u   gh
      D   a   t   e    pur       s   uant       to    ou   r     r   i   g   hts a       n d    dut      i   es          u n   der      the    Lo      a   n Do   c   um    e   n   t   s. Th   e   se
      E   s   t   i   mate       d    Fee      s a   nd    C   os    t   s    are        e x   pens      e   s r         e l   ate     d to    th      e    ser   v   ic    i   n   g    of y   o   ur
      l   o   a   n    we        h   ave       alr   ead   y     i   n   c   urred         b   ut n      o   t y         e t    re     ceiv   ed       a   n in   v   oi    c   e       for o   r
      f   o   r       whic       h    we       ant   ici   p   at    e       incur       ri    ng o      n    or           b   efo     re t   he       G   ood-   T   hr    o   u   g   h Dat   e   .
      T   h   e   r   e ma       y    be       add   iti   o   na    l       fees        in    curr      e   d f         or     wh     ich    you          are    r   es    p   o   n   sible
      t   h   a   t    are           unkn      own    as       of      t     he da       te     of       t   his           l   ett     er a   nd       w   hich       ar    e       n   ot
      i   n   c   l   uded           abov      e.    Est   i   ma    te      d Fee       s     and       C   ost         s     may      inc   lud      e   , bu   t     a   re          not
      l   i   m   i   ted        t   o, e      xpe   nse   s     f   or       item       s     such          as          es    cro     w ad   van      c   es f   o   r     pro         perty
      t   a   x   e   s, i       n   sura      nce   , l   e   ga    l       fees        an    d co      s   ts,           o   r o     ther    ad      v   ance   s     n   ece         ssary     and
      p   e   r   m   issi       b   le u      nde   r t   h   e     Lo      an Do       cu    ment      s   . Y         ou     do      not    ha      v   e to       pa    y  f        or an   y
      f   e   e   s    or        c   osts       no   t i   n   cu    rr      ed by         t   he t      i   me          yo    ur      full    pa      y   ment       is     re         ceive   d.
      I   n       t   he e       v   ent       you    su   b   mi    t       a pay       me    nt f      o   r m         or    e t     han    the          tota   l     a   mou         nt ow   ed
      a   t       t   he t       i   me t      he    pay   m   en    t       is re       ce    ived      ,    we           w   ill      ref   und          you    t   he     di         ffere   nce.
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Address Service Requested
                                                                                        L   o   a   n    N   o   :
                                                                                        P   r   o   p   er   t   y Address:
                                                                                        8   4   1   2    P   l   um Valley Dri
                                                                                        S   e   l   l   er   s   burg IN 47172


      I   s   suanc   e    o   f     t   his s   t   ateme   nt d   o   e   s    not    susp            end       t   h   e     c   o   nt    ract    requ   ir   e   m   e   nt to
      m   a   ke th   e    m   o   rt    gage    p   aymen   ts w   h   e   n    due   . A l            ate       c   h   a   rg    e     o   f $    31.29    w   i   l   l     be
      a   s   sesse   d    1   5     d   ays a   f   ter a    cur   r   e   n   t pa   yment             is       d   u   e     a   n   d     shou   ld be    a   d   d   e   d
      t   o    the    p   ay   o   ff     tota   l    if r   ecei   v   e   d    aft   er th            at       ti   m   e   .     A   ll     pas   t due    a   m   o   u   nts
      a   r   e inc   l   ud   e   d     in th   e    abov   e fi   g   u   r   es.

      If this property is sold, please provide the seller's forwarding address.

      PAYOFF DEPARTMENT

      XP011-086/JED
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Address Service Requested

                             RUSHMORE LOAN MANAGEMENT SERVICES LLC

                                                      WIRING INSTRUCTIONS


      Please wire funds to:

      Institution:               Wells Fargo

      ABA Routing Number:
      Account Number:
      Reference:                 Loan Number
                                 Borrower Name


      Attn:                      C   a   s   h   i   eri   ng     Department
      Beneficiary:               R   u   s   h   m   ore     L   oan Management LLC
                                 1   5   4   8   0    La   gu    na Canyon Road
                                 S   u   i   t   e    10   0
                                 I   r   v   i   n   e,    CA     92618


      Customer Care:          888-504-6700
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                                                  ADDITIONAL NOTICES

Rushmore Loan Management Services LLC is a Debt Collector attempting to collect a debt.

Bankruptcy Notice. If you are in bankruptcy or if your obligation to repay this loan was discharged in bankruptcy, this
informational notice is sent to you in order to comply with statutory requirements. It is not an attempt to collect a debt. You
may disregard information relating to payment remittance. You are not obligated to make payments and any amount(s) you do
pay Rushmore is at your discretion. Please note, however, Rushmore reserves the right to exercise its legal rights, including but
not limited to foreclosure of its lien interest, only against the property securing the original obligation.

If you have any other mortgage loans secured by the same property not serviced by Rushmore, please contact your other
servicer directly to discuss any possible loss mitigation options that may be available to you.

If you are a confirmed Successor-in-Interest who has not assumed the mortgage loan obligation under State Law, this letter is
being sent for information purposes only and does not constitute personal liability with respect to the debt.

LEGAL NOTIFICATION: Rushmore Loan Management Services LLC may report information about your account to credit
bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.

Notice of Error Resolution & Information Request Procedures
The following outlines the Error Resolution and Information Request Procedures for your mortgage account at Rushmore Loan
Management Services LLC (RLMS). Please keep this document for your records.

If you think an error has occurred on your mortgage account or if you need specific information about the servicing of
your loan, please write us at:

                                        Rushmore Loan Management Services LLC
                                                           P.O. Box 52262
                                                   Irvine, California 92619-2262
All written requests for information or notices of error should contain the following information:

    1.   Your name
    2.   Account number
    3.   Property Address
    4.   Description of the error and explanation as to why you believe it is an error or a request for specific information
         regarding the servicing of your loan
    5.   Current contact information so we may follow up with you

All written requests for specific information will be handled within 30 days of receipt. We will determine whether an error
occurred within 30 days after receiving your notice of error and will correct any error promptly (Notices of error on payoff
statements will be handled within 7 days). If additional time is needed to investigate your complaint or request, we may take up
to 45 days but we will notify you of the extension within the original 30 days. If we decide that there was no error, we will send
you a written explanation. You may ask for copies of the documents that we used in our investigation.


HUD STATEMENT
Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive
counseling from various local agencies regarding the retention of your home. You may obtain a list of the HUD approved housing
counseling agencies by calling the HUD nationwide toll free telephone at 1-800-569-4287.

Equal Credit Opportunity Act Disclosure
NOTICE: The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis
of race, color, religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding
contract); because all or part of the applicant's income derives from any public assistance program; or because the applicant has
in good faith exercised any right under the Consumer Credit Protection Act. The federal agency that administers compliance
with this law concerning this creditor is the Bureau of Consumer Financial Protection, 1700 G Street NW, Washington, DC
20552 or Federal Trade Commission, Equal Credit Opportunity, Washington, DC 20580.
                                                                                                                        Rev 04/21
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                                                STATE SPECIFIC NOTICES

The following notice applies to Arkansas residents only:

Please note that Rushmore Loan Management Services LLC is licensed in Arkansas and that complaints about Rushmore Loan
Management Services LLC may be submitted to the Arkansas Securities Department via the Department's website
(http://www.securities.arkansas.gov/) or toll-free 1-800-981-4429.

The following notice applies to California residents only:

The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act require that, except
under unusual circumstances, collectors may not contact you before 8:00 a.m. or after 9:00 p.m. They may not harass you by
using threats of violence or arrest or by using obscene language. Collectors may not use false or misleading statements or call
you at work if they know or have reason to know that you may not receive personal calls at work. For the most part, collectors
may not tell another person, other than your attorney or spouse, about your debt. Collectors may contact another person to
confirm your location or enforce a judgment. For more information about debt collection activities, you may contact the
Federal Trade Commission at 1-877-FTC-HELP (382-4357) or www.ftc.gov.

The following notice applies to Colorado residents only:

Please note: A consumer has the right to request in writing that a debt collector or collection agency cease further
communication with the consumer. A written request to cease communication will not prohibit the debt collector or collection
agency from taking any other action authorized by law to collect the debt.
FOR INFORMATION ABOUT THE COLORADO FAIR DEBT COLLECTION PRACTICES ACT, SEE www.coag.gov/car.
Please be advised that you can reach the Colorado Foreclosure Hotline at 1-877-601-HOPE (601-4673).

                        Local Rushmore Loan Management Services LLC Agent for Colorado Residents:
                                                    Irvin Borenstein
                                               7200 S. Alton Way, #B180
                                                 Centennial, CO 80112
                                                     303-309-3839

The following notice applies to Hawaii residents only:

Rushmore is licensed by the Division of Financial Institutions for the State of Hawaii. A borrower may file a complaint about
Rushmore Loan Management Services with the Commissioner:

                                            Division of Financial Institutions
                                       Department of Commerce and Consumer Affairs
                                                   King Kalakaua Building
                                               335 Merchant Street, Rm. 221
                                                    Honolulu, HI 96813

The following notice applies to Massachusetts residents only:

Notice of IMPORTANT RIGHTS: You have the right to make a written or oral request that telephone calls regarding your debt
not be made to you at your place of employment. Any such oral request will be valid for only ten (10) days unless you provide
written confirmation of the request postmarked or delivered within seven (7) days of such request. You may terminate this
request by writing to the creditor.

The following notice applies to North Carolina residents only:

If you believe the loss mitigation request has been wrongly denied, you may file a complaint with the North
Carolina Office of the Commissioner of Banks website, www.nccob.gov .

RUSHMORE LOAN MANAGEMENT SERVICES LLC Branch Addresses:
California Branch: 15480 Laguna Canyon Road, Suite 100, Irvine CA 92618
Texas Branch: 1755 Wittington Place, Suite 400, Dallas TX 75234
Oklahoma Branch: 2000 North Classen Blvd, Suite N3400, Oklahoma City, OK 73106
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Collection Agency
CA Office License Number: 103651
TX Office License Number: 112248
OK Office License Number: 113559


The following notice applies to New York residents only:

NOTICE PURSUANT TO NEW YORK STATE BANKING REGULATION 419
Rushmore is registered with the Superintendent of Banks for the State of New York. A borrower may file a complaint about
Rushmore Loan Management Services with the New York State Department of Financial Services. A borrower may obtain
further information from the New York State Department of Financial Services by calling the Department’s Consumer
Assistance Unit at 1-800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.

If you believe the loss mitigation request has been wrongly denied, you may file a complaint with the New York
State Department of Financial Services at 1-800-342-3736 or www.dfs.ny.gov.

NMLS Unique ID Number 185729

Please be advised that calls regarding your property insurance requirements may be answered by Southwest Business
Corporation, a third party insurance producer and tracking services provider.


The following notice applies to Texas residents only:

                     COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE
                   SENT TO THE DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH
                      LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL-FREE CONSUMER HOTLINE IS
                                            AVAILABLE AT 877-276-5550.

                   A complaint form and instructions may be downloaded and printed from the Department’s
                 website located at www.sml.texas.gov or obtained from the department upon request by mail at
                  the address above, by telephone at its toll-free consumer hotline listed above, or by email at
                                                    smlinfo@sml.texas.gov.

The following notice applies to Oregon residents only:


Pursuant to Oregon Revised Statutes 86A.324, the Director of the Department of Consumer and Business Services prescribed
by law and pursuant to FSR 25-2020: Borrowers: The Oregon Division of Financial Regulation (DFR) oversees residential
mortgage loan servicers who are responsible for servicing residential mortgage loans in connection with real property located in
Oregon and persons required to have a license to service residential mortgage loans in this state. If you have questions
regarding your residential mortgage loan, contact your servicer at 888-504-6700. To file a complaint about unlawful conduct by
an Oregon licensee or a person required to have an Oregon license, call DFR at 888-877-4894 or visit dfr.oregon.gov.


The following notice applies to Pennsylvania residents only:

The lender shall retain a security interest in the residential real estate unless and until the debt is fully satisfied and the security
interest is released.

The following notice applies to Wisconsin residents only:

This collection agency is licensed by the Division of Banking in the Wisconsin Department of Financial Institutions,
www.wdfi.org.
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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     NEW ALBANY DIVISION

 In Re:                                                         Case No. 16-90480-AKM-13

 Todd E. Cooper
                                                                Chapter 13
 Kelly S. Cooper

 Debtors.                                                       Judge Andrea K. McCord

          ADDENDUM TO RESPONSE TO NOTICE OF FINAL CURE PAYMENT

       Date last payment received on the mortgage:                                              5/31/2021
       Date next post-petition payment due:                                                     6/1/2021*
       Amount of the next post-petition payment:                                            $     891.99
       Unpaid principal of the loan:                                                        $ 64,417.82
       Additional amounts due for any deferred or accrued interest:                         $     389.85
       Balance of the escrow account:                                                       $ 1,477.05
       Balance of unapplied funds or funds held in suspense account:                        $     757.18

 *There was an over application to escrow, once reversed, & combined with suspense amount, the account will be current & due
for 7/1/2021.


                                                                Respectfully Submitted,

                                                                /s/ Molly Slutsky Simons
                                                                Molly Slutsky Simons (OH 0083702)
                                                                Sottile & Barile, Attorneys at Law
                                                                394 Wards Corner Road, Suite 180
                                                                Loveland, OH 45140
                                                                Phone: 513.444.4100
                                                                Email: bankruptcy@sottileandbarile.com
                                                                Attorney for Creditor
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                                 CERTIFICATE OF SERVICE

I certify that on June 9, 2021, a copy of the foregoing Response to Notice of Final Cure Payment
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/parties may access this filing through the Court’s system:

       J. Charles Guilfoyle, Debtors’ Counsel
       charles@guilfoylebankruptcy.com

       James F. Guilfoyle, Debtors’ Counsel
       james@guilfoylebankruptcy.com

       Joseph M. Black, Jr., Trustee
       jmbecf@trustee13.com

       Office of the U.S. Trustee
       ustpregion10.in.ecf@usdoj.gov

I further certify that on June 9, 2021, a copy of the foregoing Response to Notice of Final Cure
Payment was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

       Todd E. Cooper, Debtor
       Kelly S. Cooper, Debtor
       8412 Plum Valley Dr.
       Sellersburg, IN 47172

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Attorney for Creditor
